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                                   STATEMENT OF FACTS

        Your affiant, Freddy Miller, is a Task Force Officer assigned to the Federal Bureau of
Investigation, San Antonio, Texas Field Office, Counterterrorism Division. Currently, I am tasked
with investigating criminal activity in and around the U.S. Capitol building grounds on January 6,
2021. As a Task Force Officer, I am authorized by law or by a government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of violations of Federal criminal
laws.

        The facts in this affidavit come from my review of the evidence, my personal observations,
my training and experience, and information obtained from other law enforcement officers and
witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit between
facts of which I have personal knowledge and facts of which I have hearsay knowledge. This
affidavit is intended to show simply there is sufficient probable cause for the requested warrant
and does not set forth all of my knowledge about this matter.

                  Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by the United States Capitol Police (USCP).
Restrictions around the Capitol include permanent and temporary security barriers and posts
manned by USCP. Only authorized people with appropriate identification were allowed access
inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

        On January 6, 2021, a joint session of the United States Congress (Congress) convened at
the Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives (House) and the United States
Senate (Senate) were meeting in separate chambers of the Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice
President Mike Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the Capitol
building, and the USCP were present and attempting to keep the crowd away from the Capitol
building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m.,
individuals in the crowd forced entry into the Capitol, including by breaking windows and by
assaulting members of the USCP, as others in the crowd encouraged and assisted those acts.



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        Shortly thereafter, at approximately 2:20 p.m. members of the House and Senate, including
the President of the Senate, Vice President Mike Pence, were instructed to—and did—evacuate
the chambers. Accordingly, the joint session of Congress was effectively suspended until shortly
after 8:00 p.m. Vice President Pence remained in the Capitol from the time he was evacuated from
the Senate Chamber until the sessions resumed.

        During national news coverage of the January 6, 2021 events, video footage which
appeared to be captured on mobile devices of persons present on the scene, depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol without
authority to be there.

                             Facts Specific to Brandon Lee Bradshaw

        According to records obtained through a search warrant and additional legal process served
on Google LLC, a mobile device associated with “Brandon Lee Bradshaw” and the number 210-
XXX-5777 (the “Bradshaw Number”) was present at the U.S. Capitol on January 6, 2021. The
mobile device associated with “Brandon Lee Bradshaw” was in and around the U.S. Capitol
Building between approximately 2:40 p.m. and 3:56 p.m., which is during the known timeframe
of the Capitol Building riot event on January 6, 2021.

       Law enforcement subsequently searched open-source and law enforcement databases and
obtained a confirmation that Brandon Lee Bradshaw (“BRADSHAW”) lives at a San Antonio,
Texas address and is associated with the Bradshaw Number.

        On July 28, 2021, law enforcement conducted a voluntary interview of BRADSHAW at
the San Antonio FBI field office. BRADSHAW was accompanied by counsel. During the
interview, BRADSHAW confirmed that he was in Washington, D.C. on January 6, 2021 for the
purpose of listening to the former President speak at a rally. When law enforcement asked
BRADSHAW if he was at the U.S. Capitol on January 6, 2021, BRADSHAW responded, “I wish
to plead the 5th on that question.” BRADSHAW confirmed that his phone number is the Bradshaw
Number.

        I conducted a review of the surveillance camera footage obtained from security cameras
located inside and outside of the U.S. Capitol (“CCV”), body-worn camera (“BWC”) footage from
the D.C. Metropolitan Police Department (“MPD”), and open-source videos obtained via the
internet. Based on my review of BRADSHAW’s driver’s license photograph, I have identified
BRADSHAW in portions of these videos and observed that he was wearing a “GOD GUNS
TRUMP” hat, a “Patriotism Is Not A Crime” short-sleeved shirt over a camouflage-print long-
sleeved shirt, and a blue neck gaiter.

         MPD BWC footage shows that at approximately 2:00 p.m., BRADSHAW was standing
near a line of police with a red bullhorn in his hand on the west side of the U.S. Capitol, as depicted
below:




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          Figure 1: BRADSHAW on the west side of the Capitol




          Figure 2: BRADSHAW on the west side of the Capitol


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        At approximately 2:02 p.m., BRADSHAW grabbed an MPD police officer’s baton with
his right hand and held on for several seconds.




                    Figure 3: BRADSHAW grabbing MPD officer’s baton




                    Figure 4: BRADSHAW grabbing MPD officer’s baton




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                    Figure 5: BRADSHAW grabbing MPD officer’s baton

    Based on my review of CCV footage, I have observed that, at approximately 2:48 p.m.,
BRADSHAW entered the U.S. Capitol through a broken window near the Senate Wing Door:




                Figure 6: BRADSHAW entering Senate Wing of U.S. Capitol




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                   Figure 7: BRADHSAW in Senate Wing of U.S. Capitol

       Open-source video shows BRADSHAW in the Senate Wing with other rioters between
2:48 p.m. and 3:42 p.m.




                   Figure 8: BRADHSAW in Senate Wing of U.S. Capitol




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          Figure 9: BRADHSAW in Senate Wing of U.S. Capitol




         Figure 10: BRADHSAW in Senate Wing of U.S. Capitol




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                   Figure 11: BRADHSAW in Senate Wing of U.S. Capitol

      At approximately 3:42 p.m., law enforcement forced BRADSHAW out of the building.
He was one of the last rioters to leave the Senate Wing before it was secured.




                 Figure 12: BRADHSAW exiting Senate Wing of U.S. Capitol

       MPD BWC footage shows that after being removed from the building, BRADSHAW
remained on the Capitol grounds until at least 3:50 p.m. and continued to interact with law
enforcement officers.


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   Figure 13: BRADSHAW interacting with law enforcement on the west side of U.S. Capitol




   Figure 14: BRADSHAW interacting with law enforcement on the west side of U.S. Capitol

       A review of BRADSHAW’s publicly available Facebook account revealed photos of
BRADSHAW wearing what appears to be the same “GOD GUNS TRUMP” hat (Figure 14) and
the same “Patriotism Is Not A Crime” shirt (Figure 15) that he wore on January 6, 2021.




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                          Figure 15: BRADSHAW’s Facebook Photo




                            Figure 16: Bradshaw’s Facebook Photo

       On May 8, 2023, law enforcement interviewed an individual familiar with BRADSHAW
(“Witness 1”). Witness 1 was shown Figures 1, 8–11, and 13 depicted above of BRADSHAW on
January 6, 2021. Witness 1 identified the individual in the photos as BRADHSAW.

        Based on the foregoing, I submit there is probable cause to believe that BRADSHAW
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with

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intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that BRADSHAW violated 40
U.S.C. § 5104(e)(2)(D & G), which makes it a crime to willfully and knowingly: (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Freddy Miller
                                                      Task Force Officer
                                                      Federal Bureau of Investigation, San
                                                      Antonio, Texas

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22nd day of June 2023.
                                                       G. Michael      Digitally signed by G. Michael
                                                                       Harvey

                                                       Harvey          Date: 2023.06.22 11:06:05
                                                      ____________________________________
                                                                       -04'00'
                                                      HON. G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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